3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/02/22   Entry Number 352-5   Page 1 of 6




                   SC NAACP v. Alexander,
       D.S.C. Case No. 3:21-cv-03302-MGL-TJH-RMG




                     Exhibit E
3:21-cv-03302-MGL-TJH-RMG     Date Filed 09/02/22   Entry Number 352-5      Page 2 of 6




                                                                            Page 1

 1
 2      IN THE UNITED STATES DISTRICT COURT.
        FOR THE DISTRICT OF SOUTH CAROLINA
 3      COLUMBIA DIVISION
        -------------------------------------x
 4      THE SOUTH CAROLINA STATE CONFERENCE
        OF THE NAACP
 5
                        and
 6
        TAIWAN SCOTT, ON BEHALF OF HIMSELF                  Case No.
 7      AND ALL OTHER SIMILARLY SITUATED                    3:21-CV-03302
        PERSONS,                                            JMC-TJH-RMG
 8
                                  Plaintiffs,
 9
                        Vs.
10
        THOMAS C. ALEXANDER, IN HIS OFFICIAL
11      CAPACITY AS PRESIDENT OF THE SENATE;
        LUKE A. RANKIN, IN HIS OFFICIAL CAPACITY
12      AS CHAIRMAN OF THE SENATE JUDICIARY
        COMMITTEE; MURRELL SMITH, IN HIS OFFICIAL
13      CAPACITY AS SPEAKER OF THE HOUSE OF
        REPRESENTATIVES; CHRIS MURPHY, IN HIS
14      OFFICIAL CAPACITY AS CHAIRMAN OF THE
        HOUSE OF REPRESENTATIVES JUDICIARY
15      COMMITTEE; WALLACE H. JORDAN, IN HIS
        OFFICIAL CAPACITY AS CHAIRMAN OF THE HOUSE
16      OF REPRESENTATIVES ELECTIONS LAW
        SUBCOMMITTEE; HOWARD KNAPP, IN HIS
17      OFFICIAL CAPACITY AS INTERIM EXECUTIVE
        DIRECTOR OF THE SOUTH CAROLINA STATE
18      ELECTION COMMISSION; JOHN WELLS, JOANNE
        DAY, CLIFFORD J. EDLER, LINDA MCCALL,
19      AND SCOTT MOSELEY, IN THEIR OFFICIAL
        CAPACITIES AS MEMBERS OF THE SOUTH
20      CAROLINA STATE ELECTION COMMISSION,
21                             Defendants.
        ----------------------------------------x
22
           STENOGRAPHIC REMOTE VIRTUAL DEPOSITION
23                     BREEDEN JOHN
                 Tuesday, August 9, 2022
24
25

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3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/02/22   Entry Number 352-5   Page 3 of 6




                                                                  Page 297

 1
 2      STATE OF NEW YORK                   )
 3                          ss.:
 4      COUNTY OF NEW YORK                  )
 5
 6                    I, ERICA L. RUGGIERI, RPR and a
 7           Notary Public within and for the State
 8           of New York, do hereby certify:
 9                  That I reported the proceedings
10           in the within-entitled matter, and
11           that the within transcript is a true
12           record of such proceedings.
13                  I further certify that I am not
14           related by blood or marriage, to any
15           of the parties in this matter and
16           that I am in no way interested in the
17           outcome of this matter.
18                  IN WITNESS WHEREOF, I have
19           hereunto set my hand this 17th day of
20           August, 2022.
21
                               <%5025,Signature%>
22                  ________________________________
23                  ERICA L. RUGGIERI, RPR, CSR, CLR
24
25

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3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/02/22   Entry Number 352-5   Page 4 of 6




                                                                  Page 193

 1                                    JOHN
 2             interest were defined?
 3                  A.      Yes.    I guess, you know, to
 4             the extent that I mean, yes.
 5             Coastal life-style is different from
 6             life in the upstate, for instance,
 7             in terms economies and recreation
 8             and interests and all that.
 9                  Q.      What about any history of
10             racial discrimination for people of
11             African decent?
12                  A.      Not particularly.
13                  Q.      Can you describe how
14             partisan considerations factored
15             into the development of this plan?
16                  A.      Primarily didn't want to
17             significantly change the 1st
18             District and the 6th District.
19             Didn't want to make significant
20             changes to their political leanings
21             as they were drawn under the
22             benchmark plan.
23                  Q.      That was a view shared by
24             the core redistricting team?
25                  A.      Yeah.

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3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/02/22   Entry Number 352-5   Page 5 of 6




                                                                  Page 302

 1
 2                     INSTRUCTIONS TO WITNESS
 3
 4                   Please read your deposition over
 5      carefully and make any necessary
 6      corrections.        You should state the reason
 7      in the appropriate space on the errata
 8      sheet for any corrections that are made.
 9                   After doing so, please sign the
10      errata sheet and date it.
11                   You are signing same subject to
12      the changes you have noted on the errata
13      sheet, which will be attached to your
14      deposition.
15                    It is imperative that you return
16      the original errata sheet to the deposing
17      attorney within thirty (30) days of
18      receipt of the deposition transcript by
19      you.        If you fail to do so, the deposition
20      transcript may be deemed to be accurate
21      and may be used in court.
22
23
24
25

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3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/02/22   Entry Number 352-5   Page 6 of 6




                                                                  Page 303

 1
 2                           E R R A T A
 3
 4      I wish to make the following changes, for
 5      the following reasons:
 6      PAGE LINE
        ___  ___
 7      CHANGE:_________________________________
        REASON:_________________________________
 8      ___  ___
        CHANGE:_________________________________
 9      REASON:_________________________________
        ___  ___
10      CHANGE:_________________________________
        REASON:_________________________________
11      ___  ___
        CHANGE:_________________________________
12      REASON:_________________________________
        ___  ___
13      CHANGE:_________________________________
        REASON:_________________________________
14      ___  ___
        CHANGE:_________________________________
15      REASON:_________________________________
        ___  ___
16      CHANGE:_________________________________
        REASON:_________________________________
17      ___  ___
        CHANGE:_________________________________
18      REASON:_________________________________
        ___  ___
19      CHANGE:_________________________________
        REASON:_________________________________
20      ___  ___
        CHANGE:_________________________________
21      REASON:_________________________________
        ___  ___
22      CHANGE:_________________________________
        REASON:_________________________________
23      ___  ___
        CHANGE:_________________________________
24      REASON:_________________________________
        _________________________     __________
25      WITNESS' SIGNATURE               DATE

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